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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                       CASE NO. 17-22568-CIV-COOKE/GOODMAN

  ARTHENIA JOYNER, et al.,

        Plaintiffs,
  v.

  PRESIDENTIAL ADVISORY
  COMMISSION ON ELECTION
  INTEGRITY, et al.,

        Defendants.
  ______________________________/

                      ORDER REQUIRING EXPEDITED BRIEFING ON
                         PLAINTIFFS’ EMERGENCY MOTION

        Plaintiffs filed an emergency motion for a temporary restraining order and for a

  preliminary injunction. [ECF No. 69]. United States District Judge Marcia G. Cooke

  referred the motion to the Undersigned. [ECF No. 70]. After reviewing the motion, the

  Undersigned orders as follows:

        The state and federal defendants shall, by Monday, January 15, 2018, respond to

  Plaintiffs’ motion. The state defendant is Florida’s Secretary of State, Ken Detzner. The

  federal defendants are the Presidential Advisory Commission on Election Integrity,

  Michael Pence, Kris Kobach, the Executive Office of the President of the United States,

  the Executive Office of the Vice-President of the United States, Tim Horne, and Mick

  Mulvaney.
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         Plaintiffs may, by Thursday, January 18, 2018, reply to the state defendant’s and

  federal defendants’ responses.

         The federal defendants shall include as attachments to their response the

  following: (1) the declaration of Charles Christopher Herndon submitted in Electronic

  Privacy Information Center v. Presidential Advisory Commission on Election Integrity, No. 17-

  cv-1320 (D.D.C.) (“the DC case”) and referenced on page 27 of Plaintiffs’ motion; (2) an

  updated declaration from Mr. Herndon or another official with similar authority,

  responding to the allegations made in Plaintiffs’ motion; (3) an updated declaration

  from Kris Kobach; 1 and (4) a status report on the DC case.




         The federal defendants shall also identify: (1) the current and precise location of

  the voter information obtained from the State of Florida; (2) what person or persons

  have access to this information; (3) how the information is stored; (4) whether the

  federal government plans to distribute this information to the Department of Homeland

  Security, ICE, or another agency; (5) whether such distributions have already occurred;


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         The Undersigned notes that ECF No. 38-1, the original statement from Mr.
  Kobach, is not a declaration. It is instead a July 26, 2017 letter addressed to Florida’s
  Secretary of State.
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  and (6) whether there are any guidelines or procedures in place limiting the distribution

  of and access to the voter information.

        DONE AND ORDERED in Chambers, in Miami, Florida, on January 8, 2018.




  Copies Furnished to:
  Honorable Marcia G. Cooke
  All Counsel of Record
